     Case 8:18-bk-02670-RCT        Doc 10     Filed 04/23/18    Page 1 of 1




                  IN THE UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

IN RE:                                            Case No.: 8:18-bk-02670-RCT
ANDREW BENYO
BEVERLY BENYO,
     Debtors.                                       Chapter 7
_________________________________/

                             NOTICE OF RESCHEDULED

                            341 MEETING OF CREDITORS



         NOTICE IS HEREBY GIVEN that the Section 341 Meeting of Creditors

has been rescheduled for a meeting on Thursday May 10, 2018 at 2:30p.m. and will be

held at Room 100−C, 501 East Polk St.,(Timberlake Annex), Tampa, FL

33602.

                               CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing Notice has been
furnished electronically or via U. S. Mail to Carolyn Chaney,, Standing Trustee, P O Box
530248 St. Petersburg, FL 33747; Assistant U. S. Trustee, 501 E. Polk Street #1200,
Tampa, FL 33602; Andrew and Beverly Benyo, Debtor,8788 Highpoint Blvd Brooksville,
FL 34613; all creditors on the attached mailing matrix; on this 23rd day of April,
2018.


                                    /s/ZIONA KOPELOVICH, ESQ.
                                    _____________________________________
                                    ZIONA KOPELOVICH, ESQ. FBN 825913
                                    DEBT RELIEF LAW OFFICES OF TAMPA BAY, LLC
                                    5422 TROUBLE CREEK ROAD
                                    NEW PORT RICHEY, FL 34652
                                    Tel (727)849-3328  Fax (727)846-7687
                                    Ziona@DebtReliefTampaBay.com
